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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

In Re;
                                                            Case No. 20-22108-PDR
ALVARO PINTO,

          Debtor.                                                   Chapter 7
_______________________________________/


                              TRUSTEE’S REPORT OF SALE

         COMES NOW the Kenneth A. Welt as the Trustee of the case captioned above, and files
this Trustee’s Report of Sale in this case. Trustee has received the full amount of settlement
(DE#38) in the amount of $37,500.00 for non exempt equity in real property at 16810 Harbor Ct.,
Weston, Fla. 33326


         I HEREBY CERTIFY that on July 30, 2021 a true and correct copy of the foregoing
was served by U.S. mail to the debtor and via email to the debtor’s attorney and to Office of the
US Trustee.




                                                      By: /S/ Kenneth A, Welt, Trustee
                                                      KENNETH A. WELT, TRUSTEE
                                                      4581 Weston Road - #355
                                                      Weston, Fla. 33331
                                                      (954) 761-5161
